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         We object to the entry of restitution based on this proof alone. These photographs do not
 establish the stolen jewelry’s value by preponderance of the evidence and the Court should
 decline to order restitution on that basis alone. In the alternative, a hearing is required to properly
 calculate the loss amount.

         Under the Mandatory Victims Restitution Act (“MVRA”), restitution is mandatory for
 certain crimes where an identifiable victim has suffered a pecuniary loss. See 18 U.S.C.
 § 3663A(a)(1), (c)(1)(A)(ii), (c)(1)(B). Restitution is authorized only “for losses that [were] . . .
 directly caused by the conduct composing the offense of conviction,” United States v. Silkowski,
 32 F.3d 682, 689 (2d Cir. 1994), and is limited to the victim’s “actual loss.” United States v.
 Germosen, 139 F.3d 120, 130 (2d Cir. 1998). Restitution may be challenged “on the ground that
 it does not reflect the losses to the victims.” United States v. Harris, 302 F.3d 72, 75 (2d Cir.
 2002), citing 18 U.S.C. § 3664(f)(1)(A). The government bears the burden of establishing the
 victim's actual loss by a preponderance of the evidence. See 18 U.S.C. § 3664(e); United States
 v. Gushlak, 728 F.3d. 184, 195 (2d Cir. 2013).

         Here, the government has failed to meet its burden. It bases the losses sustained by the
 victims on photographs of documents that are purportedly appraisal records. See Ex. A
 (photographs of alleged appraisal documents provided in discovery, bates stamp US 000001-
 US_000006). These photographs are not self-authenticating, and nothing in the PSR or the
 discovery turned over by the government establishes their chain of custody or otherwise attests to
 their authenticity. As such, the photographs do not establish the proof necessary to meet the
 government’s burden. This is especially true in light of their likely source, Mr. Whitehead, who
 has burnished an infamous reputation for acts of dishonesty and forgery for financial gain.

         Indeed, Mr. Whitehead was recently convicted of wire fraud, attempted wire fraud, and
 attempted extortion and sentenced to nine years in prison. See Whitehead, No. 22-cr-692 (LGS),
 ECF No. 232 (judgement of conviction). According to the government, “Lamor Whitehead . . . is
 a career conman and liar who has been committing frauds for over 20 years to finance his
 extravagant lifestyle.” United States v. Whitehead, No. 22-cr-692 (LGS), ECF No. 223 at 1. Over
 the course of years, he defrauded numerous financial institutions by filing fraudulent loan
 applications backed by “doctored Wells Fargo bank statements” and phony IRS forms that
 falsely inflated his assets and income. Id. at 3-4. This scheme netted him millions of dollars in
 fraudulently obtained loans. Id. Not only did he steal from financial institutions, through lies and
 deceit he defrauded a member of his church congregation out of $90,000 from her retirement
 account. See id. at 4-6. And through the use of violent threats, he attempted to extort his
 mechanic out of $5000. See id. at 6-7.

        Given the victim’s established practice of forging financial documents, the Court should
 decline to order restitution entirely. 18 U.S.C. 3663(a)(1)(ii) provides:

                To the extent that the court determines that the complication and
                prolongation of the sentencing process resulting from the fashioning
                of an order of restitution under this section outweighs the need to
                provide restitution to any victims, the court may decline to make
                such an order.

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 This provision reflects Congress’s intent that “sentencing courts not become embroiled in
 intricate issues of proof,” and that the “process of determining an appropriate order of restitution
 be streamlined.” United States v. Reifler, 446 F.3d 65, 136 (2d Cir. 2006). Here, the Court’s
 interest in calculating a loss amount in order to reimburse Mr. Whitehead on the basis of records
 of unknown origin and dubious authenticity should not outweigh the Court’s interest in
 streamlining the sentencing proceedings.

         Therefore, restitution should not be ordered. In the alternative, we respectfully request
 that a hearing be held pursuant to 18 U.S.C. § 3664(d)(5) within 90 days of sentencing.

        Just punishment does not require a guidelines sentence.

         Just punishment can be achieved in this case with a below-guidelines sentence, despite
 the seriousness of the offense. This is based Mr. Anderson’s relative culpability in the crime and
 sentencing practice for similarly situated defendants in this district.

         Among the three participants in the crime, Mr. Anderson had the least culpable role.
 Unlike his two codefendants, he did not possess or brandish a firearm. Nor did he physically
 threaten Bishop Whitehead or his wife or use physical force when taking their jewelry. His role,
 rather, was to collect the jewelry after it had been removed and drive away with his codefendant,
 Say-Quan Pollack. Although Mr. Anderson is responsible for the actions of his codefendants, see
 PSR ¶ 11, the Court should weigh his particular role in the crime when assessing his relative
 culpability and the appropriate sentence for it. His relative culpability merits a lesser punishment.

         United States Sentencing Commission data reveal that people with Mr. Anderson’s
 criminal history who have recently been sentenced in this district for armed robbery do not
 receive a sentence within Mr. Anderson’s guidelines. Rather, the median similarly situated
 defendant has received less than two years’ imprisonment. These recent sentencing outcomes
 indicate that less than 51 months’ incarceration is enough to afford just punishment and
 adequately reflect the seriousness of the crime.

         Sentencing Commission data show that in the last two fiscal years, there were 28 people
 sentenced to prison in this district for Hobbs Act robbery who fell within criminal history
 category I. For this cohort of defendants, the median sentence was 23 months and the average
 sentence was 37 months. Half of this group received sentences of less than two years, as
 reflected in the following graph produced using the Sentencing Commission’s Interactive Data
 Analyzer (“IDA”). 1




 1
  The IDA can be accessed at: https://ida.ussc.gov/analytics/saw.dll?Dashboard. We obtained this
 chart by using the IDA’s Sentencing Outcomes field and inputting the following variables: fiscal
 years 2022 and 2023; geographical region of Eastern District of New York; primary guideline
 § 2B3.1; and criminal history category I.
                                                  3
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        Recent sentencing practice in this district thus shows that a sentence of less than 51
 months’ imprisonment is sufficient to afford just punishment and adequately reflect the
 seriousness of Mr. Anderson’s participation in this robbery. A below-guidelines sentence, in
 other words, can satisfy the first § 3533(a)(2) factor for this least culpable participant in this
 crime.

        A below-guidelines sentence is sufficient to deter Mr. Anderson.

         This is Mr. Anderson’s first conviction. PSR ¶¶ 30-31. He therefore has no criminal
 history category points. Id. ¶ 32. And he only has one other arrest for a misdemeanor arising
 from an argument with his girlfriend that was promptly dismissed. See PSR ¶ 36.

         The absence of prior convictions indicates that Mr. Anderson is statistically unlikely to
 reoffend. As the Sentencing Commission has observed, approximately three-quarters of all
 federal defendants like Mr. Anderson with zero criminal history points do not recidivate. U.S.
 Sentencing Comm’n, Recidivism of Federal Offenders Released in 2010 at 26 (Sept. 2021),
 available at https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
 publications/2021/20210930_Recidivism.pdf (last visited Sept. 26, 2024). That is by far the
 lowest rate among people sentenced in federal court. Indeed, even people with one criminal
 history category point are significantly more likely to reoffend than someone with Mr.
 Anderson’s record. See id. (showing that recidivism rate for one-point criminal history offenders
 is 42.3%, as compared to 26.8% for zero-point offenders). The absence of prior convictions in
 Mr. Anderson’s past strongly indicates that he does not pose a significant recidivism risk in the
 future. He does not need imprisonment to be deterred or incapacitated.

         Mr. Anderson’s recidivism risk is also tempered by his relative youth. He is 26 years old
 today but was 23 at the time of the crime. Although he was old enough to be held legally
 responsible as an adult, he was still developing neurologically in ways that matter to assessing
 his culpability and the likelihood that he will reoffend in the future.

       As the Supreme Court noted nearly 20 years ago, “[i]mmaturity at the time of the offense
 conduct is not an inconsequential consideration. Recent studies on the development of the human

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 brain conclude that human brain development may not become complete until the age of twenty-
 five.” Gall v. United States, 552 U.S. 38, 58 (2007) (internal quotation marks omitted). Those
 studies are uniform that “[t]he frontal lobes, homes to key components of the neural circuitry
 underlying ‘executive functions’ such as planning, working memory, and impulse control, are
 among the last areas of the brain to mature; they may not be fully developed until halfway
 through the third decade of life.” Johnson, et al., Adolescent Maturity and the Brain, J.
 Adolescent Health 2009, available at http://www.ncbi.nlm.nih.gov/pmc/articles/PMC2892678/
 (last visited Aug. 25, 2024). Further, criminological data—the so-called “age-crime curve”—
 demonstrate that once a person reaches his mid-20s, like Mr. Anderson has, his likelihood of
 reoffending drops significantly. See United States v. C.R., 792 F. Supp. 2d 343, 505 (E.D.N.Y.
 2011), overruled on other grounds, 731 F.3d 204 (2d Cir. 2013) (“[The] Age Crime Curve,
 which shows that misbehavior of almost every sort increases from age 10 or so on and peaks
 around 17 or 18 and then declines. And it's likely to be the case that that decline is related to
 improvements in self-regulation and in the maturation of self-control.”); Roberto Flores de
 Apodaca et al., Differentiation of the Age-Crime Curve Trajectory by Types of Crime, Am. Res.
 J. of Hum. & Soc. Sci., vol. 1, issue 4, at 7 (2015), https://www.arjonline.org/papers/arjhss/v1-
 i4/1.pdf (last visited Sept. 26, 2024) (finding, based on study of California crime data, that “both
 property and violent arrest data start out low in the under-20 category, rise and peak in the mid
 20’s, and decline thereafter; conforming to classic descriptions of the Age-Crime Curve”).

        These scientific and sociological findings have recently prompted a response from the
 Sentencing Commission. As of November 1, 2024, the guidelines will contain the following
 language in section 5H permitting a sentencing judge to downwardly depart based on a
 defendant’s age at the time of his crime.

        A downward departure also may be warranted due to the defendant’s youthfulness
        at the time of the offense or prior offenses. Certain risk factors may affect a youthful
        individual’s development into the mid-20’s and contribute to involvement in
        criminal justice systems, including environment, adverse childhood experiences,
        substance use, lack of educational opportunities, and familial relationships. In
        addition, youthful individuals generally are more impulsive, risk-seeking, and
        susceptible to outside influence as their brains continue to develop into young
        adulthood. Youthful individuals also are more amenable to rehabilitation.

 U.S. Sentencing Comm’n, Amendments to the Sentencing Guidelines 25-26 (Apr. 30, 2024),
 available at https://www.ussc.gov/sites/default/files/pdf/amendment-process/reader-friendly-
 amendments/202405_RF.pdf (last visited Sept. 19, 2024).

         This amendment accords with a proposal from the National Institute of Justice (“NIJ”),
 the research arm of the United States Department of Justice, that sentencing courts should
 consider applying an “immaturity discount” for defendants within Mr. Anderson’s age range
 because “young adults ages 18-24 are more similar to juveniles with respect to their offending,
 maturation and life circumstances.” NIJ, From Juvenile Delinquency to Young Adult Offending
 (2014), available at https://nij.ojp.gov/topics/articles/juvenile-delinquency-young-adult-
 offending (last visited Sept. 19, 2024). This reduction “would involve a decrease in the severity
 of penalties, taking into account a young person’s lower maturity and culpability.” Id. It also

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 Ex. C (Letter of Focus Forward).

        Mr. Anderson’s achievements on pretrial release demonstrate a new sense of maturity
 and growth, and a sincere desire to move forward with his life in a positive direction. He is
 deeply remorseful for the crimes he committed and is fully aware that his actions in this case
 cannot be repeated. As Mr. Anderson’s mother writes, “Juwan has expressed in many
 conversations that he has learned a valuable lesson with this situation and stated that once it’s all
 over he will turn this lesson into something very positive.” Ex. D (Letter of Kisha Johnson).

        A non-incarceratory sentence is sufficient to meet the goals of sentencing.

         Given the full scope of Mr. Anderson’s history and characteristics, the 3553(a) factors
 point away from the need to incarcerate Mr. Anderson in order to meet the goals of sentencing.
 Mr. Anderson has proven through his actions on pretrial release that he does not need to be
 deterred or incapacitated by incarceration. Since he was arrested for the instant matter two years
 ago, he has shown rehabilitation by engaging in programing and demonstrating a commitment to
 his family. Moreover, Mr. Anderson spent nearly two years on the most restrictive forms of
 pretrial release supervision – home incarceration and home detention. This experience, along
 with continued court supervision, is sufficient to deter Mr. Anderson from future criminal
 conduct.

         And so, the only remaining sentencing factor is punishment. As discussed above, the
 typical defendant in this district facing Mr. Anderson’s charge with his criminal history category
 is sentenced to less than two years’ imprisonment. Here, no imprisonment is necessary. As courts
 have said repeatedly, “[i]mprisonment is not the only way we punish.” United States v.
 Zimmerman, 2012 WL 3779387 (E.D.N.Y. 2012) (citing Gall v. United States, 552 U.S. at 48–
 49 (2007)). This Court is empowered to sentence Mr. Anderson to an intensive period of
 probation. Should he violate, the Court would then have the full range of sentencing options—
 here, up to twenty years in prison—available as a sentence upon revocation of probation. Or the
 Court could sentence Mr. Anderson to supervised release, with any number of special conditions
 or reporting requirements. To incarcerate Mr. Anderson now, despite the rehabilitation he has
 shown, is to weigh pure punishment over every other factor.

         As such, a non-incarceratory sentence of probation is sufficient to accomplish the goals
 of sentencing.

        Conclusion

         Juwan Anderson has shown over the last two years that he does not pose a risk of
 recidivism. And a below-guidelines sentence is sufficient to afford just punishment. We ask the
 Court to impose such a punishment and sentence Mr. Anderson to a period of probation.




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                                              Respectfully submitted,

                                              /s/
                                              Benjamin Yaster
                                              Kyla Wells
                                              Federal Defenders of New York, Inc.
                                              Counsel for Juwan Anderson

 cc:   AUSA Rebecca Schuman (by ECF)
       USPO Cheyanne Ralph (by email)




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                                                                        US_000003
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                    EXHIBIT B
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                    EXHIBIT C
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                   productive dialogue among the class members. When others in the class
                   were still reluctant to participate, Juwan volunteered to lead the
                   discussions and took the initiative before class to prepare questions and
                   comments about the relevant topic. His thoughtful, respectful, and
                   supportive contributions to class discussion were appreciated by his
                   classmates, who nominated him to speak at graduation.


                   The themes of resilience and maintaining hope in A Long Way Gone
                   resonated with Juwan who often shared insightful comments about the
                   book. He was particularly interested in the author’s struggle to move
                   beyond the adversities he faced as a boy soldier. Juwan was quick to
                   identify how unfairly the author and his friends were treated before they
                   became boy soldiers, often shunned, and mistreated by townspeople.
                   While he understood that the townspeople’s behavior was rooted in fear
                   and for that reason understandable, Juwan pointed out that it was not
                   correct and added to a cycle of violence and alienation. Juwan explained
                   that we “should not judge a book by its cover.” He also observed that
                   while the boy soldiers in the book were too young to think for
                   themselves and were manipulated by the army into killing and taking
                   drugs, mature adults should think for themselves and not succumb to
                   social or group pressure. Juwan found Ishmael Beah’s journey from a boy
                   soldier in Sierra Leone to “an author and a good person,” to be inspiring:
                   “[Beah] found his true self and came out a good person.”


                   Juwan was very focused on the life skills presented in each class and
                   often took immediate steps to incorporate them into his life. For example,
                   after the session devoted to setting goals, he was inspired to research
                   GED classes in his neighborhood. By the end of the course, he was
                   enrolled in a GED class which met each weekday from 9:00 am to 2:00
                   pm. He is currently scheduled to take an exam this month, which we are
                   sure, given his focus and work ethic, that he will have diligently prepared
                   for. Similarly, following the class session on resume writing, Juwan was
                   the first member of the class to send us a draft of his resume and
                   schedule a meeting to review it. Another notable example of Juwan’s
                   executive ability was his asking each of his classmates to identify a
                   passage in the reading assignment for the following week which they
                   found interesting. He explained that by doing this he thought his
                   classmates would become more involved in the class discussion. No
                   doubt, Juwan’s ability to self-start and organize tasks will assist him in
                   the future. As he explained, “Goals keep me positive and on task.”
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                    EXHIBIT D
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  September 18, 2024
  Hon. William F. Kuntz, II
  United States District Judge
  Eastern District of New York


  Dear Your Honor:
  My name is Ms. Kisha Johnson. I work under the umbrella of DHS/Department of homeless
  services. I am a housing specialist. I assist families who become homeless for whatever reasons
  with getting back on track with permanent housing and job placements.
  I am the mother of Mr. Juwan Anderson and have known Juwan for 26 years of his life. In
  December 1997, I was 20 going on 21 years of age when I because pregnant with Juwan. I was
  confused and not sure of what I was getting myself into on top of the fact that me and Juwan dad
  Mr. Osafa Anderson was not together that long. But everyone on both sides of Juwan’s family
  was happy and gave support from the time I carried Juwan until now. 26 years later the support
  still remains strong as ever from family and loving friends.
  Juwan was a very happy baby/child. He had everything a kid could ask for, want and need.
  Juwan loved to go to the store when he was a child and he would always buy something for the
  bigger kids in the house. Since he was a kid Juwan was kind loving and very giving. Still until
  today he still have the same manners and good heart.
  Juwan grew up around both sides of his family. My side of the family which is a very large
  family so Mr. Anderson had many male role models in the house who always guided him in the
  right direction as a boy into his teenage years as well as adult years too.
  When Juwan was 15, he lost his uncle, my brother Jeffrey Johnson. He was very close to Jeffrey.
  Jeffrey came across some trouble and had to go to prison. However, he did not make it home
  from prison when he was scheduled to in March of 2013 because he was murdered in jail by
  someone who suffered from mental health issues which had a big impact on Juwan’s life in such
  a horrible way. My son looked up to my brother and loved him very much because of the love
  and care my brother gave him. Juwan started to act out just a little bit in Junior High School
  because he was hurting and sad but deep down inside he knew it was not like him to act out in
  school or misbehave or follow others. So it did not take him long to get back on the right track
  because he knew his uncle would not approve of that and it would not make me happy.
  I sent Juwan to Job Corp so that he can finish his education because I did not want him to mess
  up in school or his education. Juwan understood and agreed with my decision and signed up for
  the program. He went on to start the program and manage to complete the program with his
  G.E.D. and a certificate in building and maintenance.
  In July 2022 Juwan made some choices that would change his life as well as everyone around
  him especially his mother. However, he did own up to his role played in the situation. I can
  honestly say that the decision was most certainly regretful on the behalf of Juwan. He has
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  expressed to me that he has always since the day it happened he got on his knees and prayed and
  asked god for his forgiveness for his actions and role he played on that day.
  On behalf of Juwan, myself and my entire family, we would like to apologize to the courts, the
  church and any families that may have been affected by this situation, and most of all the pastor
  his wife and daughter who was present on that day. Juwan has expressed in many conversations
  that he has learned a valuable lesson with this situation and stated that once it’s all over he will
  turn this lesson into something very positive.
  Juwan has expressed the changes he will make once the situation is over with. He talked about
  getting a clothing line creating his own style of jeans because he is very much so into fashion. He
  also expressed he would like to mentor young youth guiding them into the right direction and not
  to go into this direction or make any bad choices that will lead them to prison jail or death.
  I will be working on myself as well. If Juwan should do any time all my time will be spent
  researching, joining organizations and seminars to prepare for when Juwan will be released from
  prison so that I can give him that push start to getting back on track and confront his goals. I will
  do my best to support my son because I do not want him to ever think his situation will hold him
  back. I want him to know its okay and he can pick up the pieces and start all over again because
  god is a god of second chances.
  I ask Your Honor to please have some mercy on my soul when sentencing Juwan. He is my only
  child, my only son whom I lived with all his life. I know what it is to live with my son but I can
  honestly say I don’t know where to begin with living without my son. He is a good son outside
  of this situation. I will miss my son and will have sleepless nights due to the fact I lost my
  brother in prison in 2013 3 months before his release date. Again, I ask the courts to have mercy
  on my soul. Again, I do genuinely apologize for any hurt pain inconvenience and disrespect this
  situation may have caused.
  Thank you for taking the time out to read my letter.


  Ms. Kisha Johnson
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                     EXHIBIT E
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  July 29, 2024



  Hon. William F. Kuntz, II

  United States District Judge

  Eastern District of York



  Dear Your Honor,

          I am Nikia Johnson, and my job title is a Direct Support Professional. I am Mr. Anderson’s oldest
  aunt and for 25 years I’ve been a part of his life. Mr. Anderson was one of the kids that always loved his
  family and it’s a lot of us. He always had options to learn from family he was around. He grew up with
  two cousins and an uncle his age, so he always had someone to play with. Juwan also liked to stay at his
  grandmother’s house (Father’s Mother) with his other cousins as well.

  I stayed with Juwan and his mother for a while. He has always been loving, respectful, caring and well
  mannered. I’ve always taught him to be respectful, kind, stay in a child’s place and have empathy for
  others because it will follow you a long way in life. Mr. Anderson has become a wonderful young man
  that goes out to feed the homeless people and gave away clothes that he couldn’t fit any more.

  Since Mr. Anderson’s arrest, our family has been shocked and disappointed. We all are just trying to stay
  positive and in a right state of mind for him because we are all hurt. Our family is truly concerned
  because we lost a loved one that was incarcerated before, which truly impacted our family and worried
  our grandmother because she always told us all that trouble is easy to get into. Juwan is not a
  confrontational kid. With Juwan being on house arrest it has truly shown him that life isn’t easy, and he
  is suffering everyday behind this situation sir.


  The way I am with all the kids at home I am called the mean auntie because I stay on them a lot about
  their life’s including the things they do and the people they associate their time with. Juwan’s mother
  does not play with him as well, so I know this was not the trouble he was looking to get into sir. His
  mother has raised well as a single mother and will continue doing a great job with him.

  I believe Juwan has every intention on improving in life as Mr. Anderson is in the process of getting his
  GED. I know he’s been tutoring his cousins and kids in the neighborhood that need help. Juwan’s future
  plans in life is to make better choices, stay positive and to stay out of trouble. I will make sure the
  people he associates his time with is doing positive things with themselves. Before this case, Mr.
  Anderson had already started making changes in his life, but this was just a step back from someone he
  thought he could trust to keep him out of trouble.



                                                                   Sincerely Yours,

                                                                   Nikia Johnson
